
Tukley, J.
delivered the opinion of the court.
On the 8th day of January, 1813, John Hunter executed a written instrument, under seal, in the words following:
“Know all men by these presents, that I, John Hunter, Sr., of the county of Green, State of Tennessee, do release all my right, title and claim in and to a tract of land to Thomas Hunter, of the county aforesaid; the land lying and being on Grassy creek, in the county of Green, for a sum to me in hand paid; the land on which Hive, two hundred acres.”
Thomas Hunter took possession of the land and resided upon it till his death, which event took place some thirty years af-terwards, as the bill alleges. Upon his death his widow, complainant, files her bill for dower in the premises, and the question presented is, what estate did her husband take under the conveyance from John Hunter, Sr.; and we are constrained by long and well settled principles, to hold it to be an estate for life only, in the 1st vol. of his Treatise upon Tenures, Little-ton says, that “to create an estate in fee simple, the land must be conveyed to the purchaser and his heirs.” This as a rule of property, although of feudal Origin, has 'been invariably enforced, and we have no power to change it. Thomas Hunter, then being only seized and possessed of an estate for life, there is nothing out of which his widow is endowable, and the decree of the Chancellor must be affirmed.
